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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

 

CHRISTOPHER BAINBRIDGE & KELLY
BAINBRIDGE, INDIVID. & AS H/W,

Plaintiffs,
v. : Civil Action No. l6-CV-004l l (MEM)
U.S. BANK, N.A. as Trustee for the C-

BASS Mortgage Loan Trust Asset-Backed
Certificates, Series 2007-CB6, et al.,

 

 

 

 

 

Defendants.
ORDER
. 7L ~ . .
AND NOW, thls Q j day of , 2018, upon consideration

of the Joint Motion to Modify Discovery Schedule filed by all parties, the Court hereby orders that
the pre-trial schedule in the above-captioned case shall be as follows:
a. Fact Discoveg. All fact discovery shall be completed by September 28, 2018.
b. Disgositive Motions. Potentially dispositive motions, if any, shall be filed by
December 21, 2018.
c. Expert Discovel_'y. All expert discovery, if any, shall be completed by December
21, 2018.
d. Exgerts. Plaintiff shall disclose reports from retained experts, if any by October
29, 2018. Defendant(s) shall disclose expert reports from retained experts, if any,
by November 26, 2018.
e. Supplementations. Supplemental disclosures shall be made by December 7,

2018.

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f. Scheduling of a final pre-trial conference and the trial date of this matter is

deferred pending disposition of dispositive motions.

  
 
 
  

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